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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


RICO PERRY,
                             Plaintiff,

               v.
                                                      Civil Action No. 1:23-CV-10228-WGY
BRIAN HIGGINS, et al.,

                             Defendant.


               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                           MOTION TO DISMISS

       The Court should dismiss Plaintiff’s Complaint against the two-named Defendants,

federal agents from the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), Brian

Higgins and Keith Medeiros. Defendants construe Plaintiff as asserting a Bivens claim against

them for alleged interference with his medical care post-arrest. See Bivens v. Six Unknown

Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971). Plaintiff’s Bivens claim

fails because it arises in a new context that is “meaningfully different” from the facts in the three

Supreme Court cases recognizing a Bivens remedy, and because “‘special factors’ counsel[]

against extending Bivens” to this case. See Quinones-Pimentel v. Cannon, 85 F.4th 63, 69–70

(1st Cir. 2023). Plaintiff also fails to state a constitutional claim for deliberate indifference and

any such claim would be subject to dismissal because it would be barred by qualified immunity.

                                          BACKGROUND

        On January 30, 2023, Plaintiff Perry filed a pro se complaint that alleged numerous

claims against local, state, and federal officers in connection with his arrest on January 28, 2020.

Doc. No. 1. On April 24, 2023, Plaintiff filed an amended complaint naming the same
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defendants but adding additional causes of action. Doc. No. 13-1. 1 Plaintiff alleges that on

January 28, 2020 he was at the Cube Smart Self-Storage facility in Boston, Massachusetts. Id., ¶

13. He claims that there was a local, state, and federal joint taskforce operation at the facility

and that he was shot in the head by unknown ATF agents during his arrest. Id., ¶¶ 15–16.

           While at the hospital post-arrest, Plaintiff claims that Defendants Higgins and Medeiros

“continuously interfered with my medical treatment.” Id., ¶ 18. Plaintiff asserts that Defendants

Higgins and Medeiros refused to allow him to use the restroom, alleging that they “told me that I

had to wait and hold my bladder until I got to Court since they had to hold their [sic] while

waiting all day to lock me up.” Id., 20. Because he did not want to urinate in his pants, Plaintiff

requested “to be discharged from the hospital so I could quickly be brought to Court in order to

use the bathroom, as well as speak to an attorney and Judge to explain my need for medical

treatment without interference.” Id., ¶ 21. Plaintiff also asserts that Defendant Higgins “claimed

he was an Emergency Medical Technician (EMT) … when describing my injuries and pain

levels to doctors and nurses.” Id., ¶ 19.

           Plaintiff included seven counts in his amended Complaint, alleging violations of 42

U.S.C. § 1983 and 42 U.S.C.A. § 1985 and, but did not assert that he was seeking relief for

alleged constitutional violations. Id. at 3-4. On August 8, 2023, the Court dismissed Perry’s

claims against all defendants except for Defendants Higgins and Medeiros and allowed

Plaintiff’s amended complaint as the operative complaint. Doc. No. 15. 2


       1
        Plaintiff is no longer proceeding pro se as attorney David M. Hass filed his appearance
on February 25, 2024. Doc. No. 22.
       2
         This Court denied Plaintiff’s requests to file a second amended complaint and a motion
for reconsideration of such denial. Doc. No. 32; Doc. No. 38 (Denying Motion for
Reconsideration of Denial of Motion to Amend).

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                                      LEGAL STANDARD

       A district court should dismiss claims under Federal Rule of Civil Procedure 12(b)(6)

when the underlying allegations fail “to state a claim to relief that is plausible on its face.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678,

(2009) (“A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”).

“The plausibility standard invites a two-step pavane.” A.G. ex rel. Maddox v. v. Elsevier, Inc.,

732 F.3d 77, 80 (1st Cir. 2013). “At the first step, the court ‘must separate the complaint’s

factual allegations (which must be accepted as true) from its conclusory legal allegations (which

need not be credited).’” Id. (quoting Morales-Cruz v. Univ. of Puerto Rico, 676 F.3d 220, 224

(1st Cir. 2012)).

       “At the second step, the court must determine whether the remaining factual content

allows a ‘reasonable inference that the defendant is liable for the misconduct alleged.’” Id. A

district court should thus dismiss a claim “if the complaint does not set forth ‘factual allegations,

either direct or inferential, respecting each material element necessary to sustain recovery under

some actionable legal theory.’” U.S. ex rel. Hutcheson v. Blackstone Med., Inc., 647 F.3d 377,

384 (1st Cir. 2011) (quoting Gagliardi v. Sullivan, 513 F.3d 301, 305 (1st Cir. 2008)).

                                           ARGUMENT

       Plaintiff’s allegations fail to state a valid claim under Rule 12(b)(6) for multiple reasons.

First, the statutory bases cited by Plaintiff do not support a cause of action against Defendants as

they are federal agents, not state actors. Second, construing Plaintiff’s complaint liberally as a

Bivens action, Plaintiff’s claim of interference with medical treatment fails because it arises in a

new context that is meaningfully different from the facts in the three Supreme Court cases



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recognizing a Bivens remedy, and because special factors counsel against extending Bivens to

this case. And finally, Plaintiff’s vague and conclusory claims, even if accepted as true, do not

state a claim as to a constitutional violation and Defendants would be entitled to qualified

immunity.

       A. Plaintiff’s Claims under 42 U.S.C. § 1983 and 1985 are not Actionable against
          the Defendants.

       Plaintiff purports to bring his claims under 42 U.S.C. § 1983 and 1985. Doc. No. 13-1 at

3-4. Neither statute, however, provides a cause of action against the Defendants. Section 1983

provides a cause of action against only those who have acted “under color of any statute,

ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”

42 U.S.C. § 1983. Put another way, Section 1983 generally “provide[s] access to a federal forum

for claims of unconstitutional treatment at the hands of state officials.” Heck v. Humphrey, 512

U.S. 477, 480 (1994) (emphasis added); see also Jakuttis v. Town of Dracut, 95 F.4th 22, 29 (1st

Cir. 2024) (explaining that defendant “could be liable under § 1983 for his alleged conduct only

if [defendant] were acting under color of state law at those times”).

       Here, Plaintiff does not claim Defendants Higgins and Medeiros were acting as state

officials pursuant to state law and Section 1983 does not reach individuals who have acted

“pursuant to federal law.” Chatman v. Hernandez, 805 F.2d 453, 455 (1st Cir. 1986); see also,

e.g., District of Columbia v. Carter, 409 U.S. 418, 424–25 (1973) (“actions of the Federal

Government and its officers are at least facially exempt from [Section 1983]”).

       Plaintiff’s claim under 42 U.S.C. § 1985 fares no better. That statute, entitled Conspiracy

to Interfere with Civil Rights, “has three subsections, each of which sets forth a distinct cause of

action.” Donahue v. City of Bos., 304 F.3d 110, 122 n.9 (1st Cir. 2002). Plaintiff does not

explain which subsections he seeks to pursue, but he appears to claim a violation under

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subsection 3, which “prohibits, in general terms, conspiracies to violate civil rights.” Id. Yet the

amended complaint does not include any factual allegations to support of the existence of an

agreement—let alone a conspiracy—among the named defendants. See Ziglar v. Abbasi, 582

U.S. 120, 154 (2017) (“To state a claim under § 1985(3), a plaintiff must first show that the

defendants conspired—that is, reached an agreement—with one another”); Parker v. Landry, 935

F.3d 9, 18 (1st Cir. 2019) (“a plaintiff seeking to allege such a conspiracy must plausibly allege

facts indicating an agreement among the conspirators to deprive the plaintiff of her civil rights”).

       Plaintiff has therefore failed to state a claim under Section 1985. See, e.g., Parker, 935

F.3d at 18 (“A complaint containing only vague and conclusory allegations of a conspiracy fails

to state a plausible claim under section 1985(3)”). As such, Plaintiff’s amended complaint is

subject to dismissal as the statutory causes of action do not apply to Defendants Higgins and

Medeiros.

       B. Plaintiff’s Amended Complaint, Construed as a Bivens Action, Fails to State a
          Claim.

       Plaintiff’s allegations also fail to state a claim insofar as he seeks to assert a claim

directly under the Constitution itself. Plaintiff does not explain what constitutional right was

violated by Defendants Higgins and Medeiros, instead setting forth general labels for claims of

“Gross Negligence,” “Excessive Force,” and “Failure to Protect” all under Section 1983. Doc.

No. 13-1. While Section 1983 “entitles an injured person to money damages if a state official

violates his or her constitutional rights” Abbasi, 582 U.S. at 130, “Congress did not,” by

contrast, “create an analogous statute for federal officials.” Id. That said, in Bivens, the

Supreme Court implied an analogous cause of action against officials acting under color of

federal law. See Hartman v. Moore, 547 U.S. 250, 254 n.2 (2006) (“a Bivens action is the

federal analog to suits brought against state officials under [Section 1983]”).    But, even if

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construed as a Bivens action, Plaintiff’s amended complaint must be dismissed for failure to state

a claim.

        1. No Bivens Remedy Should be Implied in the New Context of Plaintiff’s Claim.

        The Supreme Court, through Bivens, has implied a cause of action against federal

officials for the violation of only three constitutional rights. First, in Bivens, the plaintiff alleged

that federal agents searched his apartment without a warrant, arrested him using unreasonable

force, and did so lacking probable cause. 403 U.S. at 389. The Supreme Court, while

recognizing that the Constitution “does not in so many words provide for its enforcement by an

award of money damages,” nonetheless implied a cause of action for damages under the Fourth

Amendment. Id. at 397. Second, in Davis v. Passman, 442 U.S. 228 (1979), the plaintiff alleged

that a federal congressman fired her based on her gender, and the Supreme Court implied a cause

of action for damages under the Fifth Amendment. Third, in Carlson v. Green, 446 U.S. 14

(1980), the Supreme Court extended Bivens to include an Eighth Amendment violation where

federal prison officials failed to provide adequate medical treatment for an inmate’s asthma,

resulting in his death.

        “These three cases—Bivens, Davis, and Carlson—represent the only instances in which

the Court has approved of an implied damages remedy under the Constitution itself.” Abbasi,

582 U.S. at 131. Since these decisions, the Supreme Court “has ‘consistently refused to extend

Bivens to any new context or new category of defendants.’” Id. at 135 (citing Correctional

Services Corp. v. Malesko, 534 U.S. 61, 68 (2001)). Moreover, “the Court has made clear that

expanding the Bivens remedy is now a ‘disfavored’ judicial activity.” Id. (citing Ashcroft v.

Iqbal, 556 U.S. 662, 675 (2009)). Indeed, the Supreme Court has not expanded Bivens to any

new contexts in over forty years. Id. at 134–35.



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       However, “the Supreme Court has never overruled Bivens and, most recently, clarified

how courts should assess such claims.” Quinones-Pimentel, 85 F. 4th at 69. As explained in

Abbasi, the first consideration in evaluating any Bivens claim is whether the claim arises in a

new context as compared to Bivens, Davis, or Carlson. Abbasi, 582 U.S. at 139. A court should

ask whether “the case is different in a meaningful way” from those cases. Id. In Abbasi, the

Supreme Court provided guidance as to what makes a difference ‘meaningful’, explaining that:

       A case might differ in a meaningful way because of the rank of the officers involved; the
       constitutional right at issue; the generality or specificity of the official action; the extent
       of judicial guidance as to how an officer should respond to the problem or emergency to
       be confronted; the statutory or other legal mandate under which the officer was operating;
       the risk of disruptive intrusion by the Judiciary into the functioning of other branches; or
       the presence of potential special factors that previous Bivens cases did not consider.

Abbasi, 582 U.S. at 139–40. A new category of defendants also suggests a meaningful

difference. Egbert v. Boule, 596 U.S. 482, 492 (2022). “If the case presents no meaningful

differences (and thus no new context), the analysis ends there and relief under Bivens is

available.” Quinones-Pimentel, 85 F. 4th at 70.

       If the case presents a new Bivens context, then the court should decline to extend Bivens

so long as “there are ‘special factors counselling hesitation in the absence of affirmative action

by Congress.’” Abbasi, 582 U.S. at 136 (citing Carlson, 446 U.S. at 18). “The absence of any

special factors means Bivens relief is available, while the presence of special factors means such

relief is unavailable.” Quinones-Pimentel, 85 F. 4th at 70. To summarize, as explained by the

First Circuit, “the modern Bivens analysis involves a factual comparison with the facts of Bivens

itself (or Davis, or Carlson, depending on the case), with an emphasis on avoiding any extension

of Bivens to meaningfully new factual circumstances.” Id.




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       Here, Plaintiff cannot assert a Bivens claim based on Defendants’ alleged interference

with his medical treatment because such claim plainly presents a different context than any

previously recognized Bivens cases and there are sound reasons to think that Congress might be

better equipped to create a damages remedy.

       There are obvious legal and factual differences between this case and the Bivens cases

that render this matter a new context for purposes of the Bivens analysis. For example, Bivens

involved unlawful search and seizure claims under the Fourth Amendment; Davis involved an

equal protection claim under the Fifth Amendment; and Carlson involved a deliberate

indifference claim under the Eighth Amendment brought by a federal prisoner against federal

prison officials due to inadequate medical treatment that resulted in the inmate’s death. Plaintiff,

by contrast, does not specifically assert any of those types of claims—let alone claim that

Defendants Higgins and Medeiros violated his Fourth, Fifth, or Eighth Amendment rights.

These distinctions show that this case presents a fundamentally different context than Bivens, and

clearly provide reason to hesitate before extending a Bivens remedy to this new field.

       Construing Plaintiff’s amended complaint liberally, the most relevant case to the alleged

facts of this matter is Carlson. But, the contrast between the facts of Carlson and the alleged

facts presented by Plaintiff is vast and it is evident that this case is meaningfully different than

Carlson.    Plaintiff’s allegation that the Defendants violated his constitutional rights by

interfering with his medical care by purportedly refusing to allow him to use the restroom in a

hospital is significantly different from the federal prison officials’ deadly denial of medically

critical care and treatment to a federal inmate at issue in Carlson. 3 In Carlson, an inmate’s estate


       3
         In his amended complaint (Doc. No. 13-1, ¶ 19) Plaintiff also alleges that Defendant
Higgins “claimed he was an Emergency Medical Technician (EMT) with [ATF] when describing
my injuries and pain levels to doctors and nurses,” but does not assert that such claim was
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alleged that federal prison officials failed to properly treat an inmate’s medical condition which

resulted in the inmate dying after having an asthma attack. Carlson, 446 U.S. at 16 n.1. Prison

officials kept the inmate in the “facility against the advice of doctors,” failed to “give him

competent medical attention for some eight hours” after the asthma attack, administered

antipsychotic drugs that worsened his condition, and failed to transfer him to an outside hospital.

Id. The Supreme Court recognized that such a scenario gave rise to a Bivens cause of action

finding that the prison officials were “deliberately indifferent to Jones's serious medical needs”

in violation of the Eighth Amendment. Id.

       The factual and legal differences between these claims are numerous and demonstrate

that Plaintiff’s claim arises in a new context. Plaintiff, unlike the inmate in Carlson, was not a

federal inmate in a federal prison, he was instead an arrestee who was taken to the hospital post-

arrest to determine if medical care was warranted. Plaintiff, unlike in Carlson, does not allege

that he was suffering from a medical condition that was not properly treated. Instead, he claims

Defendants refused to let him go to the bathroom. Unlike in Carlson, Plaintiff does not allege

that he was harmed or suffered injury because of the Defendants’ alleged conduct. Plaintiff’s

amended complaint names different types of defendants than those in Carlson – namely two

federal agents, rather than prison officials and medical officers. Plaintiff, unlike in Carlson, also

does not assert an Eighth Amendment claim, and as a pre-trial detainee, such claim implicates

his right as a federal pretrial detainee to due process under the Fifth Amendment. Stennis v.

Armstrong, No. 18 CV 7846, 2023 WL 1319561, at *6 (N.D. Ill. Jan. 31, 2023).




inaccurate or contributed to his alleged deprivation of constitutional rights. In any event, such
assertion if presented in support of a Bivens claim, clearly arises from a different context than the
facts presented in Carlson and therefore would not support a Bivens action.

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        Even if he did properly raise an Eighth Amendment claim, that would not be enough to

bring his claim within the same context as Carlson. Hernandez v. Mesa, 589 U.S. 93. 103

(2020) (“A claim may arise in a new context even if it is based on the same constitutional

provision as a case in which a damages remedy was previously recognized.”).

       At bottom, Plaintiff’s factual allegations are drastically different than the facts in

Carlson. These distinctions show that this case presents a different context than Carlson, and as

explained by the Supreme Court and the First Circuit, a Bivens remedy should not be extended to

a new field in such situation.

       2. Special Factors and Alternative Remedies Counsel against Recognizing a Bivens
          Remedy to Plaintiff’s Claim.

       Moreover, “‘special factors counsel[] hesitation’ in extending Bivens” to the facts of this

case. See Quinones-Pimentel, 85 F. 4th at 74 (quoting Abbasi, 582 U.S. at 136). “‘[E]ven a

single reason to pause before applying Bivens in a new context’ is sufficient to preclude relief,

because ‘in all but the most unusual circumstances, prescribing a cause of action is a job for

Congress, not the courts.” Id. (quoting Egbert, 596 U.S. at 486). This analysis “in most every

case” should lead to the same result: “no Bivens action may lie.” Egbert, 596 U.S. at 492. Here,

reasons abound to “pause before applying Bivens” in this case. Hernandez, 589 U.S. at 102.

       Congress already has provided a process to address allegations of misconduct by

employees of the Department of Justice (which includes employees of the ATF) and thereby

deter such misconduct. Through the Inspector General Act of 1978, as amended, Congress

instructed the Attorney General to ensure that “any component” of the Department that receives

a “nonfrivolous allegation of criminal wrongdoing or administrative misconduct by an employee

of the Department of Justice . . . shall report that information to the Inspector General.” 5 U.S.C.

§ 413(d). Congress in turn authorized the Department’s Inspector General, as appropriate, to

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“investigate allegations of criminal wrongdoing or administrative misconduct by an employee of

the Department of Justice,” “refer such allegations to the Office of Professional Responsibility,”

or refer them to “the internal affairs office of the appropriate component” of the Department. Id.

§ (b)(2). See Massaquoi v. Fed. Bureau of Investigation, No. 22-55448, 2023 WL 5426738, at

*2 (9th Cir. Aug. 23, 2023) (Finding existence of special factor because “Congress has

authorized the Executive to provide an alternative remedial structure” for claim against DOJ

agents, citing 5 U.S.C. § 413(b)(2)).

       Accordingly, any person, including Plaintiff, may report such alleged misconduct.

Indeed, the Department’s Office of the Inspector General (OIG) provides a link on its public

website to report allegations of wrongdoing. See U.S. Dep’t of Justice, Office of the Inspector

General, Hotline, oig.justice.gov/hotline (last visited 1/23/2025). Upon receiving such

allegations, OIG generally either opens its own investigation or, as appropriate, refers the

allegations to the Office of Professional Responsibility or the internal affairs office of the

relevant Department component. Any findings by OIG regarding allegations of misconduct are

then provided to the appropriate component for any remedial or disciplinary steps.

       The existence of a congressionally authorized investigatory process, as implemented by

the Executive Branch, is an alternative remedy counseling against this Court implying a damages

remedy. See Egbert, 596 U.S. at 498 (holding that if “Congress or the Executive has created a

remedial process that it finds sufficient to secure an adequate level of deterrence, the courts

cannot second-guess that calibration by superimposing a Bivens remedy”).

       Moreover, the federal government has internal processes for disciplining employee

misconduct. Defendants, as Department of Justice employees “have a duty to, and shall, report .

. . waste, fraud, or abuse,” as well as “serious administrative misconduct” by other DOJ/ATF



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employees. 28 C.F.R. § 45.11(a) & (b). Violations can lead to “corrective or disciplinary

action” by the agency. 5 C.F.R. § 2635.106.

       The grievance and investigation procedures described above are, as Egbert underscores,

reason alone to hesitate before recognizing a Bivens remedy. That remains true irrespective of

whether Plaintiff here ever filed a grievance, or any investigation was conducted, related to his

allegations. Indeed, Egbert instructs that even an allegedly “inadequate” grievance process can

“independently” foreclose Bivens relief from a federal law enforcement officer. Egbert, 596

U.S. at 497. That is because the relevant “focus is whether the Government has put in place

safeguards to preven[t] constitutional violations from recurring.” Id. at 498 (quotations omitted).

Here, as in Egbert, such safeguards plainly exist. See id.

       Still another alternative remedial structure provided by Congress is a statutory remedy

through which the Department of Justice “may settle, for not more than $50,000 in any one case,

a claim for personal injury, death, or damage to, or loss of, privately owned property, caused by

an investigative or law enforcement officer as defined in section 2680(h) of title 28 who is

employed by the Department of Justice acting within the scope of employment that may not be

settled under [the Federal Tort Claims Act].” 31 U.S.C. § 3724; see Davis v. Dotson, No. 20-

13123, 2021 WL 5353099, at *2 (11th Cir. Nov. 17, 2021) (finding 31 U.S.C. § 3724 was an

alternative scheme counseling against Bivens remedy). 4 Through this provision, Congress has

provided a statutory damages remedy for claims involving personal injury by federal law

enforcement officers in the line of duty. Accordingly, Congress created a mechanism to recover

monetary compensation for certain damages arising from the category of conduct at issue here,



       4
        31 U.S.C. § 3723(a) is a similar provision, which applies to small claims valued at
$1,000 or less.

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and so “an alternative remedial structure” is “in place.” Egbert, 596 U.S. at 493 (quotations

omitted).

       Finally, the FTCA is another “alternative remedial structure,” through which “Congress

already has provided” a damages remedy for torts committed by federal employees in the scope

of employment. Id. (quotations omitted); see 28 U.S.C. §§ 2679,1346. 5 Three years after Bivens

was decided, Congress specifically amended the FTCA to allow for claims of certain intentional

torts arising out of the “acts or omissions of investigative or law enforcement officers of the

United States.” 28 U.S.C. § 2680(h). Through the FTCA, “Congress has provided alternative

remedies for aggrieved parties in [Plaintiff’s] position,” which is enough to “independently

foreclose a Bivens action here.” Egbert, 493 U.S. at 497.

       As Plaintiff had access to multiple alternative processes to protect his interests, and

because special factors indicate that Congress is best suited to weigh the costs and benefits of

allowing a damages action such as this case to proceed, the preclusion of a new Bivens remedy is

warranted here.




       5
         While 42 years ago, in Carlson, the Supreme Court found that the FTCA did not
foreclose Bivens relief (in a case of deliberate indifference to medical needs resulting in an
inmate’s death) because Congress did not “explicitly declare[] [the FTCA] to be a substitute for
recovery directly under the Constitution and viewed as equally effective,” see Carlson v. Green,
446 U.S. 14, 18-19 (1980) (emphasis in original), the Supreme Court clarified in Egbert that
such reasoning “carries little weight because it predates [the Supreme Court’s] current approach
to implied causes of action and diverges from the prevailing framework in three important
ways,” see Egbert, 142 S. Ct. at 1808-09.
        Namely, now (1) even the absence of any relief does not counsel that an implied damages
remedy should be created; (2) courts should defer to Congress so long as the design of a statutory
scheme “suggests that Congress has provided what it considers adequate remedial mechanisms”;
and (3) the focus of the special factors inquiry is whether “there are sound reasons to think that
Congress might doubt the efficacy or necessity of a damages remedy at all.” Id. (quotations
omitted).

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        C. The Defendants have Qualified Immunity.

        Finally, even if Plaintiff could assert a Bivens claim in this context, Defendants Higgins

and Medeiros would be entitled to qualified immunity, which protects federal officers against

suit unless their conduct violated “clearly established” constitutional rights that any reasonable

person would have known of at the time of the events in question. Wilson v. Layne, 526 U.S.

603, 609–10 (1999). Qualified immunity provides “ample room for mistaken judgments by

protecting all but the plainly incompetent or those who knowingly violate the law.” Hunter v.

Bryant, 502 U.S. 224, 229 (1991) (internal quotation marks omitted). Such immunity protects the

Defendants in this case as Plaintiff fails to allege they violated clearly established constitutional

rights by declining to allow Plaintiff to use the restroom at the hospital.

        The qualified immunity issue entails the two-step inquiry set forth in Saucier v. Katz, 533

U.S. 194 (2001), though the court is not rigidly bound to follow the two steps in sequence.

Pearson v. Callahan, 555 U.S. 223, 236 (2009). First, plaintiff must show that the officer’s

conduct violated a constitutional right. Saucier, 533 U.S. at 201. If not, “there is no necessity

for further inquiries concerning qualified immunity.” Id. Second, if the plaintiff’s allegations

make out a constitutional violation, the court must consider whether the right alleged to be

violated was clearly established. Id. “This inquiry, it is vital to note, must be undertaken in light

of the specific context of the case, not as a broad general proposition . . . .” Id.

        Plaintiff does not, and cannot, claim that the Defendants’ conduct violated a

constitutional right. Indeed, he fails to explain what constitutional right was violated, and in

what manner. While Plaintiff does not claim the Defendants acted in a deliberately indifferent

manner, it is true that “[a] law enforcement officer who fails to provide adequate medical

treatment to an individual injured during apprehension violates the Fifth Amendment if such



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inattention constitutes deliberate indifference to serious medical needs.”          United States v.

Colburn, 546 F. Supp. 3d 22, 27–28 (D. Mass. 2021); Turkowitz v. Town of Provincetown, 914

F. Supp. 2d 62, 71–72 (D. Mass. 2012) (Explaining that a state or local “police officer who fails

to provide adequate medical treatment to an individual injured during apprehension violates the

Fourteenth Amendment if such inattention constitutes deliberate indifference to serious medical

needs.”) And as explained by this Court, “deliberate indifference may be manifested … by

prison guards who intentionally delay or deny a prisoner access to medical treatment or interfere

with medical treatment once it is prescribed.” Niemic v. UMass Corr. Health, 89 F. Supp. 3d

193, 204 (D. Mass. 2015).

       The sparse allegations set forth in the amended complaint, namely that the Defendants

refused to allow Plaintiff to use the restroom at the hospital, thus causing Plaintiff to discharge

himself from the hospital, do not contain the typical allegations found in complaints alleging

failure to provide adequate medical care or treatment at the hands of a prison doctor or the denial

or delay of care that might stem from prison guards conduct or omissions. And, Plaintiff’s

claim, even read in the most charitable light, still fails to state a plausible deliberate indifference

claim, because “not every denial or delay of medical treatment rises to the level of deliberate

indifference.” Id. This is so, here especially, because Plaintiff does not claim that he was

suffering from a serious medical condition that the Defendants were aware of, and because he

does not allege that he experienced any harm due to Defendants’ alleged conduct.

       To demonstrate deliberate indifference in the context of interference with medical care

for a pre-trial detainee, Plaintiff’s allegations must satisfy both the objective and subjective

prongs of the test that also governs Eighth Amendment claims based on denial or inadequate

medical care. Aaron v. City of Lowell, 666 F. Supp. 3d 102, 133 (D. Mass. 2023). The objective



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prong requires a plaintiff to demonstrate proof of a serious medical need and the subjective

prong mandates a showing of the defendants’ deliberate indifference to that need. Id. (quoting

Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014)).

          “To make such a showing,” Plaintiff would need to, “at a bare minimum,” plausibly

allege that Defendant Higgins and Medeiros “actually knew of a substantial risk of serious harm

to [Plaintiff] and disregarded that risk.” Coyne v. Cronin, 386 F.3d 280, 288 (1st Cir. 2004).

The first prong’s emphasis is on seriousness of the medical need and a showing that inadequate

treatment was received for such need. Kosilek, at 85. The second prong requires that the

pleading allege facts sufficient to demonstrate that each defendant was aware of the serious need

for treatment, or of facts from which the need could be inferred, and still failed to provide it. Id.

at 91.

          Plaintiff does not allege that he was seriously injured and faced a substantial risk of

serious harm and also does not allege that Defendants disregarded that risk when they

purportedly declined to allow him to use the bathroom at the hospital. Rather than disregarding a

substantial risk of serious harm to Plaintiff, the Defendants brought Plaintiff to the hospital post-

arrest so he could be evaluated. If Plaintiff was seriously injured and needed medical care, it

reasons that Plaintiff would not have voluntarily discharged himself from the hospital to use the

bathroom and meet with his attorney. Similarly, if Plaintiff was seriously injured, Plaintiff

would have required additional medical evaluation and treatment after he discharged himself

from the hospital, but Plaintiff provides no allegation that he received such additional care.

          The amended complaint lacks any factual allegations indicating that Defendant Higgins

and Medeiros effectively denied Plaintiff the medical treatment or care that he required or that

Defendants acted in a manner that demonstrated they had a “culpable state of mind and intended



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wantonly to inflict pain.” LaFrenier v. Kinirey, 478 F.Supp.2d 126, 140 (D.Mass.2007) (quoting

DesRosiers v. Moran, 949 F.2d 15, 19 (1st Cir.1991)).

       As such, Plaintiff has failed to state a constitutional claim for interference with medical

care. In any event, to overcome qualified immunity, Plaintiff would have to do more than

merely show that he had a constitutional right to not have his medical care interfered with, he

would have to demonstrate that Defendants’ alleged conduct – in declining to allow him to use

the restroom – plainly violated the constitution. Plaintiff would need to cite case law sufficient

to show a clearly established right that no reasonable officer could mistake. Hunter, 502 U.S. at

229. Based on these allegations, he cannot.

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss the Plaintiff’s amended complaint

against the Defendants for failure to state a cognizable Bivens claim.

                                                       Respectfully submitted,

                                                       LEAH B. FOLEY
                                                       UNITED STATES ATTORNEY

Dated: February 3, 2025                        By:     /s/ Mark Sauter
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants.

Dated: February 3, 2025                        By:     /s/ Mark Sauter
                                                       Mark Sauter
                                                       Assistant U.S. Attorney
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